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PROB 12A
(7/9 3)

                               United States District Court
                                            for
                                  District of New Jersey
                          Report on Offender Under Supervision
Name of Offender: Dante Brown                                                               Cr.: 20-00005-00 I
                                                                                           PACTS #: 6774403

Name of Sentencing Judicial Officer:    THE HONORABLE MADELINE COX ARLEO
                                        UNITED STATES DISTRICT JUDGE

Date of Original Sentence: 11/1912020

Original Offense:   Count One: Felon in Possession ofa Firearm      -   Etc., 18 U.S.C. Section 922(g)(1)

Original Sentence: 18 months imprisonment, 36 months supervised release

Special Conditions: Special Assessment, Substance Abuse Testing. Drug Treatment, Life Skills
Counseling, Education/Training Requirements, Mental Health Treatment. Support Dependents, Location
Monitoring Program, Forfeiture

Type of Supervision: Supervised Release                          Date Supervision Commenced: 01/20/2021

                                NONCOMPLIANCE SUMMARY

The offender has not complied with the following condition(s) of supervision:

Violation Number     Nature of Noncompliance


                      Mr. Brown was involved in a motor vehicle stop and was issued a ticket for
                      driving while his license is suspended. I-Ic failed to report this to the undersigned
                      officer. When asked about the stop, he told this officer that he did not think he
                      needed to report the law enforcement contact since the officer who conducted
                      the motor vehicle stop reportedly told Mr. Brown that the charge would he
                      dismissed.
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                                                                                                    Prob 12A—page2
                                                                                                         Dante Brown

 U.S. Probation Officer Action:

The conditions of supervision were again reviewed with Mr. Brown and the importance of not driving
without a license was reiterated. He was encouraged to work to obtain a driver’s license and was again
reminded to report any, and all law enforcement contact to this officer. The charge remains pending and we
will continue to monitor the outcome. At this time, we ask that no formal court action be taken.


                                                                    Respectfully submitted,

                                                                    SUSAN M. SMALLEY, Chief
                                                                    U.S. Probation Officer




                                                                     By:   ERIKAM.ARNONE
                                                                           U.S. Probation Officer

/ ema

APPROVED:


        ->‘    :)   ,        Digitally signed by Luis A. Gonzalez
                        X    Date:20211D22 1O:38:20-04OC


LUIS R. GONZALEZ                         Date
Supervising U.S. Probation Officer

Pleas check a box below to indicate the Court’s direction regarding action to be taken in this case:

F No Formal Court Action to be Taken at This Time (as recommended by the Probation Office)

F   Submit a Request for Modifying the Conditions or Term of Supervision

F   Submit a Request for Warrant or Summons

F Other



                                                                            Signature of Judicial Officer


                                                                       b5/
                                                                                        Date
